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        Fill in this information to identify the case:
 Debtor name Wansdown Properties Corporation N.V.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                Check if this is an
                                               YORK, MANHATTAN DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Alan H. Goldberg &                              Professional                                                                                                            $16,000.00
 Company, CPA                   alan@ahgoldbergc Services
 14 Penn Plz Ste                pa.com
 1315                           (212) 265-4466
 New York, NY
 10122-1390
 Azadeh                                                                                Disputed                                                                        $150,000.00
 Nasser Azari
 360 E 55th St
 New York, NY
 10022-4118
 Blank Rome LLP                 Lawrence F. Flick II Professional                                                                                                      $294,105.61
 1271 Avenue of the                                  Services
 Americas
 New York, NY 10020             (212) 885-5000
 Calray Gas Heat                                             Utility                                                                                                         $930.89
 Corp.
 571 Timpson Pl                 (212) 722-5506
 Bronx, NY
 10455-3806
 CMC Worldwide                                                                         Disputed                                                                          $13,232.94
 P.O. Box 2319,                 h.vdziel@cmcww.c
 1100 EC                        om
 Amsterdam,
 The Netherlands
 Consolidated                                                Utility                                                                                                       $1,166.12
 Edison Company of
 NY                             (212) 243-3003
 JAF Station
 PO Box 1702
 New York, NY
 10116-1702
 Danillo Martinez                                                                                                                                                        $20,000.00
 Rivera
 48-47 1st St                   (929) 339-6986
 Woodside, NY
 11377


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 Debtor    Wansdown Properties Corporation N.V.                                                              Case number (if known)
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Fatma Secilmis                                                                                                                                                          $30,000.00
 48-24 42nd St
 Sunnyside, NY                  (646) 578-9220
 11104-3126
 Fatma Secilmis                                                                                                                                                            $7,500.00
 48-24 42nd St
 Sunnyside, NY                  (646) 578-9220
 11104-3126
 Gerard Perdereau                                                                                                                                                        $10,000.00
 350 Cheminis des
 Monyens
 Brusquets,
 06600 Antibes FR
 Giuseppi Margiotta                                          Storage                                                                                                       $2,619.00
 17 Ramapo                      pep19m49@aol.co
 Mountain Dr                    m
 Wanaque, NJ                    (201) 315-5625
 07465-1635
 Hine & Ogulluk, LLP            Sevan Ogulluk,               Professional                                                                                              $124,486.73
 30 Wall St Fl 8                Esq.                         Services
 New York, NY
 10005-2205                     sogulluk@hineogu
                                lluk.com
                                (212) 300-7390
 Kelley Drye &                  Robert Bickford  Professional                          Disputed                                                                          $73,593.38
 Warren LLP                     Jr., Esq.        Services
 101 Park Ave
 New York, NY                   rbickfordjr@kelley
 10178-0002                     drye.com
                                (212) 808-7639
 McCarthy, Burgess                                           Utility                                                                                                         $464.28
 & Wolfe (Verizon)                                           (Collections)
 The MB&W Building (440) 735-5100
 26000 Cannon Rd
 Cleveland, OH
 44146-1807
 NYC Department of                                           Taxes                                                                                                       $49,510.98
 Finance
 Attn: Legal Affairs (212) 440-5300
 345 Adams St Fl 3
 Brooklyn, NY
 11201-3719
 NYS Department of                                           Taxes                                                                                                       $12,199.58
 Taxation & Finance
 Bankruptcy/Special (518) 457-5434
 Procedures Section
 PO Box 5300
 Albany, NY
 12205-0300




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                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 NYS Department of              Unemployment       Taxes                                                                                                                     $829.17
 Taxation and                   Insurance Division
 Finance
 Department of
 Labor -                        (888) 899-8810
 Unemployment
 Insur
 PO Box 15012
 Albany, NY
 12212-5012
 NYS Unemployment                                            Taxes                                                                                                         $3,486.58
 Insurance Fund
 PO Box 551                     (518) 457-5789
 Albany, NY
 12201-0551
 Stella Flores                                                                                                                                                           $20,000.00
 4856 47th St Apt 5G
 Woodside, NY                   (347) 319-6839
 11377-7273
 Vertical Systems               Olaf Santiago                Consulting                                                                                                      $480.00
 Analysis, Inc.                                              Services
 Midtown Station
 PO Box 716                     (212) 989-5525
 New York, NY
 10018-0025




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